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          o   The concealment of negotiated disciplinary procedures under the 3020-a
              framework;
          o The possession of exculpatory audio recordings.
   4. As officers of the court, attorneys at Corporation Counsel are bound by ethical and
      constitutional obligations to act with candor and to uphold the integrity of judicial
      proceedings. See, e.g., Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991) (“[A]n
      attorney, whether retained or court-appointed, is an officer of the court.”); United
      States v. Shaffer Equip. Co., 11 F.3d 450, 457 (4th Cir. 1993) (recognizing the duty
      of candor and truthfulness as central to the attorney's role as officer of the court).
   5. Plaintiff therefore seeks to amend to include that the Law Department’s
      institutional failure to report, correct, and address known constitutional
      violations constitutes a municipal policy or custom under Monell, justifying
      direct municipal liability.

II. NO PREJUDICE AND JUSTICE REQUIRES LEAVE

   6. This request is timely and made in good faith. No trial date has been set, and
      discovery remains limited.
   7. Defendants will not be prejudiced, as the proposed amendments rely on exi§sting
      factual material already within Defendants’ control or possession.
   8. Courts routinely grant leave to amend where, as here, the proposed additions are
      grounded in publicly known facts, supported by constitutional and statutory
      obligations, and necessary to conform pleadings to the evidence.

III. The Court Can Confirm NYC’ Misconduct, in part, before Your Honor’s
court, as proof of UFT’s misconduct/criminal could be seen on emails where
probation is cc’ed (mostly) and certain judges—besides Hon. Gleason
Probation was cc’ed with attachments of UFT’s, DoE’s, and Art. Taylor’s obstruction of
justice under NYS law

Then, the issue of Law Dept, in state court, helped conceal Randi Weingarten’s criminal
conduct in state court because it deals with her numerous and extensive crimes in federal
court under 18 USC § 241, 18 USC § 371, obstruction of justice statutes and others, like 18
USC § 641. However, judge like Livingston and Donnelly can only confirm me sending them
a paid receipt from NYS Court of 10/27/23 and not 11/21/23

Then, there is the issue of the emails sent to Your Honor to highlight the issue

CONCLUSION

For these reasons, Plaintiff respectfully requests that the Court grant leave to file the
attached amended complaint and incorporate the additional Monell-based allegations
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against the Corporation Counsel for their unlawful inaction and ethical misconduct in
violation of their legal duties under the NYC Charter and as officers of the court.




DATED: [Date]
Respectfully submitted,
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Certificate of Service
I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s system.

[Attorney's Name]
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